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  IN TH E M A TTER O F TH E
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  EX TIW D ITIO N O F R ICA RD O                                       FILED UNDER SEAL
  A LBER TO M A RTINELLI BERR O CA L


                                           C O M PLM NT
                                         (18 U.S.C.4 3184)
            the undersigned A ssistant U nited States Attorney, being duly sw om , state on

  inform ation and beliefthatthc follow ing is tnle and correct:

         In thism atter,Irepresentthe United Statesin fulfilling itstreaty obligation to Panam a.

         There is an extradition treaty in force betw een the United States and Panam a,the Treaty

  Betw een the United States ofAm erica and the Republic ofPanam a Providing forthe Extradition

  ofCriminals,U.S.-Pan.,M ay 25,1904,34 Stat.2851 (the tt-
                                                         rreat/). The Uréted Statesand
  Panam a are also parties to the U .N .Convention A gainstCorntption,D ec.9,2003,S.Treaty D oc.

  N o.109-6,2349 U .N .T.S.41,
                             *and the Convention on Cybercrim e,Jan.7,2004,CouncilofEur.,

  T.I.A .S.N o.13174,C .E.T.S.No.185.

         Puzsuant to the Treaty, the G overnm ent of Panam a has subm itted a form al request

  tltrough diplom atic channels for the extradition of m cardo A lberto M artinelli Benocal

  C:M artinelliBerrocal'').
  4.     According to the information provided by the Government of Panam a, M artinelli

  Benocalischargedwith(1)interceptionoftelecommunicationswithoutjudicialJtuthorization,in
  violation of Article 167 of the Criminal Code of Panama; (2) tracking,persecution, and
   sutwkillance withoutjudicialauthorization,in violation ofArticle 168 ofthe same code;(3)
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  em bezzlem entby theftand m isappropriation,in violation of Article 338 of the sam e code;and

  (4)embezzlementofuse,in violation ofArticle341ofthesamecode.Hat'
                                                                 ryDiaz,aJusticeof
  the Crim inal Cham ber of the Suprem e Court of Justice of the Republic of Panam a,issued an

  indictm entagainstM artinelliBerrocalforthese offenseson October9,2015.

         The offenses were committed within the jurisdiction of Panama. After M artinelli
  Belw cal failed to appear in courtwhen sum m oned for a healing on the charges,on Decem ber

  21,2015,the Suprem e CourtofJustice issued an order forM artinelliBenrcal's arrest.

         The indictm ent and detention order w ere issued on the basis of the following facts, as

  alleged in the form alextradition docum ents sentfrom Panam a to the United States:

         M artinelli Berrocal served as the President of Panam a from July 2009 to July

         2014.     D uring that period, specitically, from            to M ay 2014, he

         m isappropdated goverm nentresources to illegally interceptand record the private

         com m llnications of at least 150 individuals w hom he identified as EEltargets,''

         includinghispoliticalalliesand opponents,and family membersthereof;judges
         of Panama's Supreme Court of Justice and Electoral Tribunal;journalists;
         businessm en, including M artinelli Benocal's business rivals; union activists;

         professional and civic association leaders'
                                                   , M artinelli Berrocal's m istress; and

         others. U sing equipm ent purchased w ith public ftm ds, and using m em bers of

         Panama's NationalSecurity Council(<'NSC'') M artinelliBenocalcreated and
         oversaw asophisticatedprogram thatinvolved illegalwiretapping and otherforms

         of sunreillance through w hich he violated the plivacy of his dçtargets,''learning

         intimate details oftheirpersonaland professionallives withouttheirknowledge

         or consent,and withoutauthorizatitm underPanam anian law .
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                Pursuant to A rticle 29 of the Political Constitution of the Republic of

        Panam a and Article       of the C'
                                          riminalProceeding Code of the Republic of

        Panam a,private com m unications m ay not be intercepted or recorded,electronic

        surveillance m ay not be conducted,and infonnation m ay notbe extracted from

        computers,cellularphones,and otherelectronic devices,unlessproperjudicial
        authorization hasbeen obtained. N o such authorization w as soughtor obtained in

        this case forthe activities conducted by M artinelliBenrcalwith respectto his

        tEtargets.''

                Rather than operating through proper channels, M artinelli Berrocal

        secretly comm andeered theN SC,&Ga consultantand advisory body to thePresident

        ofthe Republic,on public security and nationaldefense,'V'
                                                                asdescribed in A rticle 1

        of Executive Decree 263,for his own devices. On M arch 19,2010,M artinelli

        Ben-ocal enacted Executive D ecree 263 to reorganize the N SC s() as to

        concentrate pow er in him self as the president, w ho was authorized under the

        D ecree to convene and chair the N SC and to appoint and rem ove its m em bers

        tArts.3,6,& 20). Functionally,M artinelliBelw caldirected a11matters and
        policiesofthe N SC .

                M artinelliBerrocalcreated a special,covçrtunitwithin theN SC known as

        'IspecialServices,''which included Ronny Roddguez C'Roddguez''l)who was
        then the Chief of Intelligence and Deputy Director of the NSC,and two other

        NSC employees,W illiam Pitti(ç(W il1iam'')and lsmaelPit'
                                                               ti(&çIsmae1''). 'Fheunit
        reported directly to,and al1ofits activities were govem ed by,M artinelliBenrcal.

        The SpecialServices offcersreferred to MartinelliBezrocalas çlelJefb''(ttthe
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        Boss'') or T'RM ''rather than rejkrring to him by name or title, given the
        confidentialnatureoftheirwork forhim .

               The SpecialServicesunitestablished an office on thetop floorofan NSC

        building called tt150''(ççBuilding 150'1),which wasaccessible only by itstlaree
        m embers with an electronic key card. The office housed three cofnputers,a

        server,a printer,and other equipm entthat supported a ET C Surveillance System ''

        called çtpegasus.'' Tllis system w as used to intercepttelephone calls,em ails,and

        instantm essages;to extract data,such as contacts lists and calendars,artd video

        from com puter hard-drives and cellular phone m em ory cards;to trace the GPS

        location of cellular phones; and to rem otely activate m icrophone and video

        ftm ctionsofelectronicdevicesso asto captttream bientconversationsand actions

        taldngplace in thevicinity ofadevice. Also integrated with the system were two

        laptops,atleastcm e ofwhich w asprovided to M artinelliBenrcal.

               The system w as plzrchased using public ftm ds that had been allocated to

        the SocialInvestm entFund. Specifically,US $ 13,475,000 ofthose fundswere
        used to puzchase Pegasus and its associated equipm ent from M .L.M .Protection

        Ltd.(<çM LM ''),a private Israelicompany. The contract between the Social
        lnvestmentFund and M LM wasforaprojectentitled ttsecurity Technology and
        Provision ofEquipm entand lnstallation,Training and M aintenance ofthe Sam e,''

        which was outwardly intended to meetsocialinterestneedsand to improve the

        qualityoflife forunderprivileged persons. M LM employeesprovided training on

        Pegasus to the Special Services unit,and returned periodically to ser/ice and

        update the system . The system also relied on broadband lnternetservice,along

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        with related antennae and fiberopticcables,which werepurchased forUS $2,400

        permonth (plusadditionalcosts)from a company called Libedy Teclmologies
        Corp., through a contract entered into by W illiam tm der the pseudonym

        ç'G uillerm o Guerra.'' The cables were concealed within tubes inside the

        ventilation ducts of Building 150,and their presence w as not disclosed to the

        N SC 'S Com puter Departm ent.

               M artinelli Benocal used Pegasus for w iretapping and sunreillance of his

        tEtargets.'' H e provided a list of the individuals he had identified as tttargets''to

        Rodrigtlez, who in ttln'
                               l shared the list w ith W illiam and lsm ael. The Special

        Services oftk ers then rem otely installed the system on each target's telephone,

        eitherby electronically pushing a package oftiles thatwere installed directly on

        the phone or by sending the targd a text m essage containing a link that w ould

        initiate installation w hen the targetclicked on it,depending on the type ofphone.

        They would also send each targetan emailwith a link thatwould allow them to

        tEhack''into the target's eom puter and gain access to its contents. Follcw ing its

        installation on the target's devices,Pegasus silently functioned to allow forcovert

        inform ation gathering.

                Each Special Services ofïicer w as assigned to specific targets. They
        m onitored and review ed the infbrm ation on those targets collected through

        Pegasus,and then produced daily written reports summ arizing thatinform ation,

        including w hatw as being discussed in the course ofthe target's com m tm -
                                                                                  ications,

        and where and with whom the targetwasmeeting. These reports w ere separate

        from the daily reports prepared by the N SC 'S Public Order division, w hich

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        contained information regarding national security available from public sources

        andjudiciallyauthorizedsurveillanceofpeopleidentifiedaspublicthreats.
               Rodrfguez personally delivered the Special Services reports to M artinelli

        Berrocal in a sealed m anila envelope every m orning, except when M adinelli

        Berrocal was outofthe country,in which case the reports w ere notplinted out

        untilllisreturn. Certain information wasreported to M artinelliBenrcal(via
        Rodldguez) immediately,including information damaging to the reputation of
        M artinelli Benocal's political opponents.     M artinelli Betw cal sometim es

        responded with specifc instrudions,such as requesting that the information be

        recorded onto a CD and given to him . He also som etim es instnzcted that

        particularly sensational audio or video- such as a political opponent having

        sexualintercourse,oranotherpoliticalopponentbeing accused ofinfidelity by her

        husband- be uploaded to Y ouTube,w hich w as done via a public com puter so

        that the computer's lnternet Protocol address could not be traced back to the

        SpecialSerd ces'offce. Rodriguez occasionally reported to W illiam and Ism ael

        thatçGelJefe is happy w ith ou.
                                      rw orlcand sends you thisbonus,''and provided each

        officerwith an envelope fullofmoney,usually in theamountof U S $2,000.

               On repeated occasions,M artinelli Berrocal cliscussed the inform ation he

        had illegally intercepted. For exam ple, he com plained to Erasm o Pinilla

        Castillero,then President of the Electoral Tribunal,about an em ail exchange

        between the latter and m embersofthe DemocraticRevolutionary Party. He also

        fired his attorney,Rosendo Enrique Rivera,based on private comm unications

        between M r.Rivera and a third party. In addition,during an interview given on
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         the Telém etro new s program , M artinelli Berrocal threatened that he had Etthe

         dossier and pedigree on everyone,everything in thiscountry''and thathe knew

         ttwhateach person has done and not.done.''

                Shortly following the electiions which took place on M ay 4,2014,w hen

         M artinelli Berrocal w as about to leave office,Roddguez and W illiam rem oved

         the surveillance equipm ent from Building 150 after business hours one evening.

         The only item s that were leftbehind w ere a laptop,from w llich inform ation had

         been deleted (butwaslaterrecovered forensically),and the printer,which had
         been inventoried and paid for outc.
                                           fthe N SC budget. W illiam poured acid on the

         printerto destroy it out of concern that it contained back-up copies of al1 of the

         inform ation previously printed on the device. A t R odriguez's request,a black

         m etalrack thathad contained the com puter server w as relocated to the offices of

         Super99,a superm arketcom pany ow ned by M artinelliBenocal,located atM onte

         O scuro in Panam a City.
                An auditconducted by the ComptrollerGeneralconcluded thatthe lossto

         the state sustained as a result of the purchase and disappearance of the

         surveillance equipm entam ountedtE
                                          o US $ 10,861,857.48.
                M artinelli Berrocal m aintains a residence in M iam i-D ade C ounty, Flolida.

   Therefore,itisbelieved thatM artinelliBerrocalmay currentlybe found within tlleboundariesof

   theSouthernDistrictofFlorida,andthereforewithinthejudsdictionofthisCourt.
          8.     Susan Benda, an attornei
                                        y in the Office of the Legal Adviser of the U.S.

   Departm ent of State, has provided tbe U .S. Departm ent of Justice with a declaration

   authenticating acopy ofthe diplom atienoteby which therequestforextradition wasmade and a
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  copy ofthe Treaty,stating thatthe offenses forw hich extradition is dem anded are provided for

  by the Treaty, and confirm ing that the docum ents supporting the request for exkadition are

  properly certified by theprincipalU .S.diplom atic or consularofficerin Panam a,in accordance

  with 18U.S.C.j3190,soastoenabletheratobereceivedintoevidence.
          9.     The declaration from the U.S.Departm entofState with itsattachm ents,including

  a copy of the diplom atie note from Panam a,a copy of the Treaty,and the certified docum ents

   submitted in supportoftherequest,(marked collectivelyasGovermment'sExhibit#1)arefiled
  w ith this com plaintand incorporated by reference herein.

                 M artinelli Berrocal w ould be likely to flee if he leam ed of the existence of a

  w arrantforhis arrest.
          W H EREFORE,the undersigned requeststhata w anunt forthe arrest of the aforenam ed

   person be issued in accordance with 18 U.S.C.j 3184 and the extradition treaty between the
   U nited States and Panam a,so thatthe fugitive m ay be arrested and broughtbefore this Courtto

   the end thatthe evidence ofcrim inality m ay be heard and considered and thatthiscom plaintand

   the attached warrantbe placed underthe sealofthe Courtuntilsuch tim e asthe w arrantis




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   executed.

                                      Respectfally subm itted,

                                      BEN JAM IN G .G REEN BER G
                                      A CTING UN ITED STA TES A TTO RN EY

                                By:
                                      A        S.FELS
                                      A ssistantUnited StatesA ttorney

   Swom tobeforemeandsubscribedinmypresencethis/M dayofJune,.
                                                            2017atMiami,
   Florida.                                      w   ....''*
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